      Case 3:22-cv-00112-DHB-BKE Document 12 Filed 12/02/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

LUIS ALBERTO PATINO-LINARES,                    )
                                                )
               Petitioner,                      )
                                                )
       v.                                       )            CV 322-112
                                                )
WARDEN, USP ATLANTA,                            )
                                                )
               Respondent. 1                    )
                                            _________

                                             ORDER
                                             _________

       Objections to this Report and Recommendation must be filed by no later than December

19, 2022, must specify each proposed finding of fact and conclusion of law to which objection

is made, must state the bases for each such objection, and must be served upon all parties.

Failure to file objections by this deadline may result in this Report and Recommendation

becoming the opinion and order of the Court. Devine v. Prison Health Servs., Inc., 212 F.

App’x 890, 892 (11th Cir. 2006) (per curiam). Failure to object to any proposed finding of

fact or conclusion of law waives the right to challenge on appeal the district court’s adoption

of each such factual finding or legal conclusion. 11th Cir. R. 3-1. The Clerk will submit this

Report and Recommendation together with any objections to United States District Judge

Dudley H. Bowen, Jr., on December 20, 2022.


       1
          The Court DIRECTS the CLERK, to update the docket in accordance with the above caption
to reflect the warden at Petitioner’s current prison as the Respondent. See Rumsfeld v. Padilla, 542
U.S. 426, 434-35 (2004) (explaining proper respondent in § 2241 case is warden of institution where
the petitioner is confined).
     Case 3:22-cv-00112-DHB-BKE Document 12 Filed 12/02/22 Page 2 of 2




      Requests for extension of time to file objections shall be filed with the Clerk of Court

for consideration by the undersigned.        A party may not appeal this Report and

Recommendation directly to the United States Court of Appeals for the Eleventh Circuit.

Appeals may be made only from a final judgment.

      SO ORDERED this 2nd day of December, 2022, at Augusta, Georgia.




                                             2
